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   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10 YERIS AVELAR; and BELLA                Case No.
     AVELAR,
  11                                        COMPLAINT FOR DAMAGES
                Plaintiffs,
  12                                            1. Unreasonable Search and Seizure—
         vs.                                       Excessive Force (42 U.S.C. § 1983)
  13
     COUNTY OF LOS ANGELES; and                 2. Unreasonable Search and Seizure—
  14 DOES 1-10, inclusive,                         Denial of Medical Care (42 U.S.C.
                                                   § 1983)
  15              Defendants.                   3. Substantive Due Process—(42
                                                   U.S.C. § 1983)
  16                                            4. Battery (Wrongful Death)
                                                5. Negligence (Wrongful Death)
  17
                                                6. Violation of Bane Act (Cal. Civil
  18                                               Code § 52.1)

  19                                        DEMAND FOR JURY TRIAL

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                                                                COMPLAINT FOR DAMAGES
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   1                           COMPLAINT FOR DAMAGES
   2
   3        Plaintiffs YERIS AVELAR and BELLA AVELAR for their complaint
   4 against Defendants COUNTY OF LOS ANGELES, and Does 1-10, inclusive, allege
   5 as follows:
   6
   7                                  INTRODUCTION
   8        1.     This civil rights action seeks compensatory and punitive damages from
   9 Defendants for violating various rights under the United States Constitution and
  10 state law in connection with the fatal police shooting of the decedent, Ricardo
  11 Avelar.
  12
  13                                       PARTIES
  14        2.     At all relevant times, Ricardo Avelar (“DECEDENT”) was an
  15 individual residing in County of Los Angeles, California.
  16        3.     Plaintiff YERIS AVELAR is an individual residing in the County of
  17 Los Angeles, California, and is the natural son of DECEDENT. YERIS AVELAR
  18 sues both in his individual capacity as the son of DECEDENT and in a
  19 representative capacity as a successor-in-interest to DECEDENT. YERIS AVELAR
  20 seeks both survival and wrongful death damages under federal and state law.
  21        4.     Plaintiff BELLA AVELAR is an individual residing in the County of
  22 Los Angeles, California, and is the natural daughter of DECEDENT. BELLA
  23 AVELAR sues both in her individual capacity as the daughter of DECEDENT and
  24 in a representative capacity as a successor-in-interest to DECEDENT. BELLA
  25 AVELAR seeks both survival and wrongful death damages under federal and state
  26 law.
  27        5.     At all relevant times, Defendant COUNTY OF LOS ANGELES
  28 (“COUNTY”) is and was a duly organized public entity, form unknown, existing

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                                                                    COMPLAINT FOR DAMAGES
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   1 under the laws of the State of California. At all relevant times, COUNTY was the
   2 employer of Defendant DOES 1-5, who were COUNTY sheriff’s deputies, DOES 6-
   3 7, who were COUNTY sheriff’s deputies supervisorial officers, and DOES 8-10,
   4 who were managerial, supervisorial, and policymaking employees of the COUNTY
   5 Sheriff Department. On information and belief, at all relevant times, DOES 1-10
   6 were residents of County of Los Angeles, California. DOES 1-10 are sued in their
   7 individual capacity for damages only.
   8         6.    At all relevant times, Defendants DOES 1-10 were duly authorized
   9 employees and agents of COUNTY, who were acting under color of law within the
  10 course and scope of their respective duties as sheriff’s deputies and with the
  11 complete authority and ratification of their principal, Defendant COUNTY.
  12         7.    At all relevant times, Defendants DOES 1-10 were duly appointed
  13 officers and/or employees or agents of COUNTY, subject to oversight and
  14 supervision by COUNTY’s elected and non-elected officials.
  15         8.    In doing the acts and failing and omitting to act as hereinafter
  16 described, Defendants DOES 1-10 were acting on the implied and actual permission
  17 and consent of COUNTY.
  18         9.    At all times mentioned herein, each and every COUNTY defendant was
  19 the agent of each and every other COUNTY defendant and had the legal duty to
  20 oversee and supervise the hiring, conduct and employment of each and every
  21 COUNTY defendant.
  22         10.   The true names of defendants DOES 1 through 10, inclusive, are
  23 unknown to Plaintiffs, who therefore sue these defendants by such fictitious names.
  24 Plaintiffs will seek leave to amend this complaint to show the true names and
  25 capacities of these defendants when they have been ascertained. Each of the
  26 fictitious named defendants is responsible in some manner for the conduct and
  27 liabilities alleged herein.
  28

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                                                                      COMPLAINT FOR DAMAGES
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   1         11.   On January 15, 2015, Plaintiffs filed comprehensive and timely claims
   2 for damages with COUNTY pursuant to applicable sections of the California
   3 Government Code.
   4         12.   On February 20, 2015, COUNTY rejected Plaintiffs’ claims for
   5 damages.
   6                            JURISDICTION AND VENUE
   7         13.   This civil action is brought for the redress of alleged deprivations of
   8 constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and the
   9 Fourth and Fourteenth Amendments of the United States Constitution. Jurisdiction
  10 is founded on 28 U.S.C. §§ 1331, 1343, and 1367.
  11         14.   Venue is proper in this Court under 28 U.S.C. § 1391(b), because
  12 Defendants reside in, and all incidents, events, and occurrences giving rise to this
  13 action occurred in, the County of Los Angeles, California.
  14
  15                FACTS COMMON TO ALL CLAIMS FOR RELIEF
  16         15.   Plaintiffs repeat and reallege each and every allegation in paragraphs 1
  17 through 14 of this Complaint with the same force and effect as if fully set forth
  18 herein.
  19         16.   On or about November 16, 2014, DECEDENT was on or near the
  20 driveway of his home near the 5300 Block of Verona Street in the City of Los
  21 Angeles, California.
  22         17.   While on or near his driveway on the 5300 Block of Verona Street,
  23 DOES 1-5 discharged their firearms at DECEDENT, striking him several times,
  24 causing DECEDENT serious physical injury and eventually killing him.
  25         18.   The involved deputies also shot and killed Eduardo Bermudez, who
  26 was standing in the general vicinity of DECEDENT.
  27         19.   On information and belief, DOES 1-5 intentionally shot DECEDENT
  28 multiple times.

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                                                                      COMPLAINT FOR DAMAGES
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   1        20.     On information and belief, DOES 1-5 did not accidently shoot
   2 DECEDENT because he was standing in the vicinity of Eduardo Bermudez, who
   3 was the intended target. Rather, DECEDENT was the intended target of DOES 1-
   4 5’s gunfire.
   5        21.      At the time of the shooting, DECEDENT posed no imminent threat of
   6 death or serious physical injury to either DOES 1-5 or any other person. Especially,
   7 since he was unarmed, his arms were raised in the air near his head and his hands
   8 were visibly empty. DECEDENT never reached in or near his waistband prior to
   9 being fatally shot.
  10        22.     DECEDENT never attempted to flee from DOES 1-5, he complied with
  11 all deputy commands and he was never resistive, assaultive or combative with
  12 anyone during the incident.
  13        23.     On information and belief, DOES 1-5 had no information that
  14 DECEDENT had committed a felony.
  15
  16                             FIRST CLAIM FOR RELIEF
  17       Unreasonable Search and Seizure—Excessive Force (42 U.S.C. § 1983)
  18                             (Against Defendants DOES 1-5)
  19        24.     Plaintiffs repeat and reallege each and every allegation in paragraphs 1
  20 through 23 of this Complaint with the same force and effect as if fully set forth
  21 herein.
  22        25.     DOES1-5’s unjustified shooting deprived DECEDENT of his right to
  23 be secure in his persons against unreasonable searches and seizures as guaranteed to
  24 DECEDENT under the Fourth Amendment to the United States Constitution and
  25 applied to state actors by the Fourteenth Amendment.
  26        26.     The unreasonable use of force by Defendant DOES 1-5 deprived the
  27 DECEDENT of his right to be secure in his person against unreasonable searches
  28

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                                                                      COMPLAINT FOR DAMAGES
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   1 and seizures as guaranteed to DECEDENT under the Fourth Amendment to the
   2 United States Constitution and applied to state actors by the Fourteenth Amendment.
   3        27.    As a result, DECEDENT suffered extreme pain and suffering and
   4 eventually suffered a loss of life and of earning capacity. Plaintiffs have also been
   5 deprived of the life-long love, companionship, comfort, support, society, care, and
   6 sustenance of DECEDENT, and will continue to be so deprived for the remainder of
   7 their natural lives. Plaintiffs are also claiming funeral and burial expenses and a loss
   8 of financial support.
   9        28.    As a result of the conduct of DOES 1-5, they are liable for
  10 DECEDENT’s injuries, either because they were integral participants in the
  11 excessive force, or because they failed to intervene to prevent these violations.
  12        29.    This use of deadly force was excessive and unreasonable under the
  13 circumstances. Especially, since DECEDENT was unarmed, his hands were visibly
  14 empty, he complied with all the involved deputies commands and he was never
  15 resistive, assaultive or combative. Defendants’ actions thus deprived DECEDENT
  16 of his right to be free from unreasonable searches and seizures under the Fourth
  17 Amendment and applied to state actors by the Fourteenth Amendment.
  18        30.    The conduct of DOES 1-5 was willful, wanton, malicious, and done
  19 with reckless disregard for the rights and safety of DECEDENT and therefore
  20 warrants the imposition of exemplary and punitive damages as to Defendants DOES
  21 1-5.
  22        31.    Plaintiffs bring this claim as successors-in-interest to the DECEDENT,
  23 and seek both survival and wrongful death damages for the violation of
  24 DECEDENT’s rights.
  25        32.    Plaintiffs also seek attorney fees under this claim.
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                                                                      COMPLAINT FOR DAMAGES
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   1                           SECOND CLAIM FOR RELIEF
   2   Unreasonable Search and Seizure—Denial of Medical Care (42 U.S.C. § 1983)
   3                             (Against Defendants DOES 1-5)
   4         33.   Plaintiffs repeat and reallege each and every allegation in paragraphs 1
   5 through 32 of this Complaint with the same force and effect as if fully set forth
   6 herein.
   7         34.   On information and belief, after shooting DECEDENT multiple times,
   8 DOES 1-5 did not immediately summons medical attention for the DECEDENT.
   9         35.   After the responding medical providers arrived on scene, DOES 1-5
  10 denied the medical providers access to DECEDENT for several minutes, while
  11 DECEDENT bled profusely in the street as a result of his gunshot wounds and
  12 ultimately died. Further, the involved deputies did not have information that there
  13 were outstanding suspects, thereby making it unsafe for the medical providers on
  14 scene to begin rendering medical aid to DECEDENT.
  15         36.    The denial of medical care by Defendant Does 1-5 deprived
  16 DECEDENT of his right to be secure in his person against unreasonable searches
  17 and seizures as guaranteed to DECEDENT under the Fourth Amendment to the
  18 United States Constitution and applied to state actors by the Fourteenth Amendment.
  19         37.   As a result, DECEDENT suffered extreme pain and suffering and
  20 eventually suffered a loss of life and earning capacity. Plaintiffs have also been
  21 deprived of the life-long love, companionship, comfort, support, society, care, and
  22 sustenance of DECEDENT, and will continue to be so deprived for the remainder of
  23 their natural lives. Plaintiffs are also claiming funeral and burial expenses and a loss
  24 of financial support.
  25         38.   Defendant Does 1-5 knew that failure to provide timely medical
  26 treatment to DECEDENT could result in further significant injury or the
  27 unnecessary and wanton infliction of pain, but disregarded that serious medical
  28 need, causing DECEDENT great bodily harm and death.

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                                                                      COMPLAINT FOR DAMAGES
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   1         39.   The conduct of Does 1-5 was willful, wanton, malicious, and done with
   2 reckless disregard for the rights and safety of DECEDENT and therefore warrants
   3 the imposition of exemplary and punitive damages as to Defendant Does 1-5.
   4         40.   Plaintiffs bring this claim as a successors-in-interest to DECEDENT,
   5 and seek both survival and wrongful death damages for the violation of
   6 DECEDENT’s rights.
   7         41.   Plaintiffs also seek attorney’s fees under this claim.
   8
   9                             THIRD CLAIM FOR RELIEF
  10                      Substantive Due Process (42 U.S.C. § 1983)
  11                              (Against Defendant DOES 1-5)
  12         42.   Plaintiffs repeat and reallege each and every allegation in paragraphs 1
  13 through 41 of this Complaint with the same force and effect as if fully set forth
  14 herein.
  15         43.    YERIS AVELAR had a cognizable interest under the Due Process
  16 Clause of the Fourteenth Amendment of the United States Constitution to be free
  17 from state actions that deprive him of life, liberty, or property in such a manner as to
  18 shock the conscience, including but not limited to, unwarranted state interference in
  19 Plaintiff’s familial relationship with his father, DECEDENT.
  20         44.   BELLA AVELAR had a cognizable interest under the Due Process
  21 Clause of the Fourteenth Amendment of the United States Constitution to be free
  22 from state actions that deprive her of life, liberty, or property in such a manner as to
  23 shock the conscience, including but not limited to, unwarranted state interference in
  24 Plaintiff’s familial relationship with her father, DECEDENT.
  25         45.   DECEDENT had a cognizable interest under the Due Process Clause of
  26 the Fourteenth Amendment of the United States Constitution to be free from state
  27 actions that deprive him of his right to life, liberty, or property in such a manner as
  28 to shock the conscience.

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                                                                       COMPLAINT FOR DAMAGES
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   1         46.   As a result of DOES 1-5’s excessive force and failure to intervene,
   2 DECEDENT died. Plaintiff s YERIS AVELAR and BELLA AVELAR were
   3 thereby deprived of their constitutional right of familial relationship with
   4 DECEDENT.
   5         47.   Does 1-5, acting under color of state law, thus violated the Fourteenth
   6 Amendment rights of YERIS AVELAR and BELLA AVELAR to be free from
   7 unwarranted interference with their familial relationship with DECEDENT.
   8         48.   The aforementioned actions of DOES 1-5, along with other
   9 undiscovered conduct, shock the conscience, in that they acted with deliberate
  10 indifference to the constitutional rights of DECEDENT and Plaintiffs YERIS
  11 AVELAR and BELLA AVELAR, and with purpose to harm unrelated to any
  12 legitimate law enforcement objective.
  13         49.   Defendants DOES 1-5, acting under color of state law, thus violated the
  14 Fourteenth Amendment rights of DECEDENT and Plaintiffs.
  15         50.   As a direct and proximate cause of the acts of DOES 1-5, DECEDENT
  16 experienced severe pain and suffering and lost his life and earning capacity.
  17 Plaintiffs suffered extreme and severe mental anguish and pain and have been
  18 injured in mind and body. Plaintiffs has also been deprived of the life-long love,
  19 companionship, comfort, support, society, care and sustenance of DECEDENT, and
  20 will continue to be so deprived for the remainder of their natural lives. Plaintiffs are
  21 also claiming funeral and burial expenses and a loss of financial support.
  22         51.   As a result of the conduct of Does 1-5, they are liable for
  23 DECEDENT’S injuries, either because they were integral participants in the denial
  24 of due process, or because they failed to intervene to prevent these violations.
  25         52.   The conduct of DOES 1-5 was willful, wanton, malicious, and done
  26 with reckless disregard for the rights and safety of DECEDENT and Plaintiffs and
  27 therefore warrants the imposition of exemplary and punitive damages as to
  28 Defendant DOES 1-5.

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                                                                      COMPLAINT FOR DAMAGES
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    1         53.   Plaintiffs bring this claim individually and as a successors-in-interest to
    2 DECEDENT, and seek both survival and wrongful death damages for the violation
    3 of both Plaintiffs’ and DECEDENT’s rights.
    4         54.   Plaintiffs also seek attorney fees under this claim.
    5
    6                           FOURTH CLAIM FOR RELIEF
    7             Battery (Cal. Govt. Code § 820 and California Common Law)
    8                                    (Wrongful Death)
    9                     (Against Defendant DOES 1-5 and COUNTY)
   10         55.   Plaintiffs repeat and reallege each and every allegation in paragraphs 1
   11 through 54 of this Complaint with the same force and effect as if fully set forth
   12 herein.
   13         56.   DOES 1-5, while working as a sheriff’s deputies for the COUNTY
   14 Sheriff’s Department, and acting within the course and scope of their duties,
   15 intentionally shot DECEDENT multiple times. As a result of the actions of DOES
   16 1-5, DECEDENT suffered severe pain and suffering and ultimately died from his
   17 injuries and lost earning capacity. DOES 1-5 had no legal justification for using
   18 force against DECEDENT and said defendants’ use of force while carrying out their
   19 officer duties was an unreasonable and excessive use of force. Especially, since
   20 DECEDENT was unarmed and his hands were visibly empty at the time of the
   21 shooting.
   22         57.   As a direct and proximate result of defendants’ conduct as alleged
   23 above, Plaintiffs suffered extreme and severe mental anguish and pain and have
   24 been injured in mind and body. Plaintiffs also have been deprived of the life-long
   25 love, companionship, comfort, support, society, care and sustenance of
   26 DECEDENT, and will continue to be so deprived for the remainder of their natural
   27 lives. Plaintiffs also are claiming funeral and burial expenses and a loss of financial
   28 support.

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                                                                        COMPLAINT FOR DAMAGES
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    1        58.    COUNTY is vicariously liable for the wrongful acts of DOES 1-5
    2 pursuant to section 815.2(a) of the California Government Code, which provides
    3 that a public entity is liable for the injuries caused by its employees within the scope
    4 of the employment if the employee’s act would subject him or her to liability.
    5        59.    The conduct of DOES 1-5 was malicious, wanton, oppressive, and
    6 accomplished with a conscious disregard for the rights of Plaintiffs and
    7 DECEDENT, entitling Plaintiffs, individually and as successors-in-interest to
    8 DECEDENT, to an award of exemplary and punitive damages.
    9        60.    Plaintiffs bring this claim as a successors-in-interest to DECEDENT,
   10 and are seeking both survival and wrongful death damages under this claim.
   11
   12                            FIFTH CLAIM FOR RELIEF
                Negligence (Cal. Govt. Code § 820 and California Common Law)
   13
                                        (Wrongful Death)
   14                               (Against All Defendants)
   15
   16        61.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1
   17 through 60 of this Complaint with the same force and effect as if fully set forth
   18 herein.
   19        62.    The actions and inactions of the Defendants were negligent and
   20 reckless, including but not limited to:
   21               (a)    the failure to properly and adequately assess the need to detain,
   22                      arrest, and use force or deadly force against DECEDENT;
   23                (b)   the negligent tactics and handling of the situation with
   24                      DECEDENT, including pre-shooting negligence;
   25                (c)   the negligent detention, arrest, and use of force, including deadly
   26                      force, against DECEDENT;
   27                (d)   discharging a firearm negligently in public;
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    1                (d)   the failure to summons and provide prompt medical care to
    2                      DECEDENT;
    3                (e)   the failure to properly train and supervise employees, both
    4                      professional and non-professional, including DOES 1-2;
    5                (f)   the failure to ensure that adequate numbers of employees with
    6                      appropriate education and training were available to meet the
    7                      needs of and protect the rights of DECEDENT;
    8                (g)   the negligent handling of evidence and witnesses.
    9         63.   As a direct and proximate result of defendants’ conduct as alleged
   10 above, and other undiscovered negligent conduct, DECEDENT was caused to suffer
   11 severe pain and suffering and ultimately died and lost earning capacity. Also as a
   12 direct and proximate result of defendants’ conduct as alleged above, Plaintiffs
   13 suffered extreme and severe mental anguish and pain and have been injured in mind
   14 and body. Plaintiffs also have been deprived of the life-long love, companionship,
   15 comfort, support, society, care and sustenance of DECEDENT, and will continue to
   16 be so deprived for the remainder of their natural lives. Plaintiffs also are claiming
   17 funeral and burial expenses and a loss of financial support.
   18         64.   COUNTY is vicariously liable for the wrongful acts of DOES 1-10
   19 pursuant to section 815.2 of the California Government Code, which provides that a
   20 public entity is liable for the injuries caused by its employees within the scope of the
   21 employment if the employee’s act would subject him or her to liability.
   22         65.   Plaintiffs bring this claim as a successors-in-interest to DECEDENT,
   23 and seek wrongful death damages under this claim.
   24 ///
   25 ///
   26 ///
   27 ///
   28 ///

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                                                                       COMPLAINT FOR DAMAGES
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    1                             SIXTH CLAIM FOR RELIEF
                           Violation of Bane Act (Cal. Civil Code § 52.1)
    2
                                      (Against All Defendants)
    3
               66.   Plaintiffs repeat and reallege each and every allegation in paragraphs 1
    4
        through 65 of this Complaint with the same force and effect as if fully set forth
    5
        herein.
    6
               67.   California Civil Code, Section 52.1 (the Bane Act), prohibits any
    7
        person from interfering with another person’s exercise or enjoyment of his
    8
        constitutional rights by threats, intimidation, or coercion.
    9
               68.   Conduct that violates the Fourth Amendment violates the California
   10
        Bane Act.1
   11
               69.   Defendant DOES 1-5 use of deadly force was excessive and
   12
        unreasonable under the circumstances, especially since DECEDENT was unarmed
   13
        and his hands were visibly empty at the time of the shooting. Defendants’ actions
   14
        thus deprived DECEDENT of his right to be free from unreasonable searches and
   15
        seizures under the Fourth Amendment and applied to state actors by the Fourteenth
   16
        Amendment.
   17
               70.   DOES 1-5, while working as sheriff’s deputies for the COUNTY
   18
        Sheriff’s Department, and acting within the course and scope of their duties,
   19
        interfered with or attempted to interfere with the rights of DECEDENT to be free
   20
        from unreasonable searches and seizures, to equal protection of the laws, to access
   21
        to the courts, and to be free from state actions that shock the conscience, by
   22
        threatening or committing acts involving violence, threats, coercion, or intimidation.
   23
   24
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   27        See Chaudhry v. City of Los Angeles, 2014 WL 2030195, at * 6 (9th Cir. May
        19, 2014) (citing Cameron v. Craig, 713 F.3d 1012, 1022 (9th Cir. 2013).
   28

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                                                                        COMPLAINT FOR DAMAGES
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    1         71.   On information and belief, DECEDENT reasonably believed that if he
    2 exercised his rights, including his civil rights, DOES 1-5 would commit acts
    3 involving violence, threats, coercion, or intimidation against them or their property.
    4         72.   On information and belief Defendant DOES 1-5 injured DECEDENT
    5 to prevent him from exercising his rights or retaliated against DECEDENT for
    6 having exercised his rights.
    7         73.   DECEDENT was caused to suffer extreme pain and suffering and
    8 eventually suffered a loss of life and of earning capacity. Plaintiffs have also been
    9 deprived of the life-long love, companionship, comfort, support, society, care, and
   10 sustenance of DECEDENT, and will continue to be so deprived for the remainder of
   11 their natural lives. Plaintiffs are also claiming funeral and burial expenses and a loss
   12 of financial support.
   13         74.   The conduct of DOES 1-5 was a substantial factor in causing the
   14 harms, losses, injuries, and damages of DECEDENT and Plaintiffs.
   15         75.   COUNTY is vicariously liable for the wrongful acts of DOES 1-5
   16 pursuant to section 815.2(a) of the California Government Code, which provides
   17 that a public entity is liable for the injuries caused by its employees within the scope
   18 of the employment if the employee’s act would subject him or her to liability.
   19         76.   The conduct of DOES 1-5 was malicious, wanton, oppressive, and
   20 accomplished with a conscious disregard for the rights of DECEDENT entitling
   21 Plaintiffs to an award of exemplary and punitive damages.
   22         77.   Plaintiffs bring this claim as successors-in-interest to the DECEDENT,
   23 and seek survival damages for the violation of DECEDENT’s rights.
   24         78.   The Plaintiffs also seek attorney fees under this claim.
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                                                                       COMPLAINT FOR DAMAGES
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    1                              PRAYER FOR RELIEF
    2
    3        WHEREFORE, Plaintiffs request entry of judgment in their favor and against
    4 Defendants County of Los Angeles, and Does 1-10, inclusive, as follows:
    5              A.    For compensatory damages, including both survival damages and
    6                    wrongful death damages under federal and state law, in the
    7                    amount to be proven at trial;
    8              B.    For funeral and burial expenses, and loss of financial support;
    9              C.    For punitive damages against the individual defendants in an
   10                    amount to be proven at trial;
   11              D.    For interest;
   12              E.    For reasonable costs of this suit and attorneys’ fees; and
   13              F.    For such further other relief as the Court may deem just, proper,
   14                    and appropriate.
   15
   16 DATED: April 14, 2015                 LAW OFFICES OF DALE K. GALIPO
   17
   18                                       By             /s/ Dale K. Galipo
                                              Dale K. Galipo
   19                                         Eric Valenzuela
                                              Attorneys for Plaintiffs
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    1                          DEMAND FOR JURY TRIAL
    2
    3       Plaintiffs hereby demand a trial by jury.
    4
    5 DATED: April 14, 2015               LAW OFFICES OF DALE K. GALIPO
    6
    7
                                          By             /s/ Dale K. Galipo
    8                                       Dale K. Galipo
                                            Eric Valenzuela
    9                                       Attorneys for Plaintiffs

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                                                                   COMPLAINT FOR DAMAGES
